Filed 8/23/24 In re H.M. CA2/4
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
not certified for publication or ordered published, except as specified by rule 8.1115(b). This opinion
has not been certified for publication or ordered published for purposes of rule 8.1115.




IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                       DIVISION FOUR


 In re H.M., a Person Coming                                      B334832
 Under the Juvenile Court Law.
                                                                  (Los Angeles County
 LOS ANGELES COUNTY                                               Super. Ct. No. 22LJJP00468A)
 DEPARTMENT OF CHILDREN
 AND FAMILY SERVICES,

           Plaintiff and
           Respondent,

           v.

 MELISSA M.,

           Defendant and
           Appellant.


     APPEAL from orders of the Superior Court of the County of
Los Angeles, Donald A. Buddle, Jr., Judge. Affirmed.
     Akila A. Shenoy, under appointment by the Court of
Appeal, for Defendant and Appellant.
      Dawyn R. Harrison, County Counsel, Kim Nemoy,
Assistant County Counsel, and Veronica Randazzo, Deputy
County Counsel, for Plaintiff and Respondent.

                   ____________________________

                        INTRODUCTION
       H.M. (born 2022) was declared a dependent of the court and
removed from his mother, Melissa M. (mother).1 After mother
failed to comply with a family reunification plan, the juvenile
court terminated reunification services and set a permanency
planning hearing. The day of the hearing, mother filed a petition
under Welfare and Institutions Code, section 388.2 She asserted
a schizophrenia diagnosis made after a recent arrest for willful
child cruelty, along with the initiation of treatment, constituted a
change in circumstances warranting reinstatement of
reunification services. The juvenile court summarily denied her
petition, and it terminated her parental rights. Mother appeals
from the orders denying her section 388 petition and terminating
her parental rights. We affirm.

1      Mother also appealed from the detention, jurisdiction, and
disposition orders. (No. B327640, Apr. 7, 2023.) Her counsel filed a
brief pursuant to In re Phoenix H. (2009) 47 Cal.4th 835, notifying us:
(1) counsel was unable to identify any arguable issues after reviewing
the record; and (2) mother was notified she could personally submit
any contentions she believed we should consider, and the appeal would
be dismissed if she failed to identify any arguable issues.
(No. B327640, Dec. 1, 2023.) Mother did not provide anything in
writing setting forth her contentions, and we dismissed the appeal as
abandoned. (No. B327640, Jan. 31, 2024.)
2      Unless otherwise specified, statutory references in this opinion
are to the Welfare and Institutions Code.




                                   2
                         DISCUSSION
A.    Background
      As the parties are familiar with the facts and procedural
history of the case, we do not restate all the details here.
Additional facts are set forth in our analysis, infra.

       1.    Detention, Jurisdiction, and Disposition
       Mother had an extensive prior referral and case history
with the Los Angeles County Department of Children and Family
Services (DCFS), which included removal of her older children in
2014.
       Son came to DCFS’s attention shortly after he was born in
mid-2022. Multiple referrals expressed concern for son’s well-
being due to conditions caused by mother’s methamphetamine
use. DCFS filed a petition under section 300, subdivision (b),
which it later amended. In November 2022, son was detained,
removed from mother, and placed with foster parents.
       At the adjudication and disposition hearing, the juvenile
court found true allegations that mother’s methamphetamine use
interfered with her providing regular care and supervision of son,
and her substance abuse endangered son and placed him at a risk
of serious physical harm, damage, and danger. Son was living in
“filthy, unsanitary, and hazardous” conditions, and mother
endangered him by failing to make safe and appropriate childcare
arrangements for him. For example, mother left son on an
alleged father’s couch and departed without telling him he was
responsible for caring for son for a week. Similarly, mother left
son with son’s adult sister (sister) for months but refused to sign
forms so son could be seen by a doctor, and consequently, son had




                                3
not seen a doctor since his birth. Son was declared a dependent
of the court, and he remained with the foster parents.
       Mother’s case plan required her to participate in a full drug
and alcohol program with weekly testing, parenting classes, and
individual counseling “to address substance abuse, proactive
parenting, [and] mental health.” DCFS and mother agreed on
two-hour, monitored visits twice weekly.

      2.     Termination of Reunification Services and the Section
             388 Petition
       In August 2023, the juvenile court terminated reunification
services, finding by clear and convincing evidence that reasonable
services had been provided or offered to mother, she failed to
participate regularly and make substantive progress in the case
plan, and there was no substantial probability of returning son to
mother by the 12-month date.3 The court found mother “is not
visiting [son] or participating in her services,” and “[her]
compliance toward . . . mitigating the causes [ ] ha[s] been




3       When a child is removed, reunification services must be ordered
for six months from the dispositional hearing, but no longer than 12
months from the time the child entered foster care. (F.K. v. Superior
Court (2024) 100 Cal.App.5th 928, 934, citing § 361.5, subd. (a)(1)(B).)
When there is noncompliance with a court-ordered treatment plan,
termination of reunification services at the six-month review hearing is
discretionary. (Id. at pp. 934–935.) If “the court finds by clear and
convincing evidence that the parent failed to participate regularly and
make substantive progress in a court-ordered treatment plan, the court
may schedule a hearing pursuant to Section 366.26 [to terminate
parental rights] within 120 days.” (Id. at p. 935, quoting § 366.21,
subd. (e)(3), italics omitted.)




                                   4
nonexistent.” A section 366.26 permanency planning hearing4
was set for early December.
       On the day of the hearing, mother filed a section 388
petition.5 Mother asked the court to vacate the permanency
planning hearing, reinstate reunification services, and implement
an “appropriate mental health component in her case plan.” She
contended a criminal court deemed her not competent to stand
trial on a child abuse charge6 approximately two months earlier
pursuant to Penal Code, section 1370.01,7 due to a schizophrenia


4      The purpose of a section 366.26 hearing is to select a permanent
plan for the child after reunification services have terminated. (In re
D.M. (2021) 71 Cal.App.5th 261, 268; see also § 366.26, subd. (b)(1).)
At the hearing, the court may order one of three alternatives (adoption,
guardianship or long-term foster care), and if the child is adoptable,
there is a strong preference for adoption over the alternative
permanency plans. (Ibid.)
5      Section 388 provides, in relevant part, “(a) Any parent . . . may,
upon grounds of change of circumstance . . . , petition the court . . . for
a hearing to change, modify, or set aside any order of court previously
made . . . . The petition shall . . . set forth in concise language any
change of circumstance[s] . . . which are alleged to require the change
of order . . . . [¶] . . . [and] (c) If it appears that the best interests of the
child may be promoted by the proposed change of order, . . ., the court
shall order that a hearing be held and shall give prior notice . . . .”
6      In September 2023, mother was arrested and charged with
misdemeanor willful child cruelty. The record does not provide all the
details of this charge. She remained incarcerated until mid-October
2023.
7      Penal Code, section 1370.01(a)(1)(B) provides that if a defendant
is mentally incompetent, trial is suspended until they are competent.
“‘[M]entally incompetent,’ . . . is defined to mean that, ‘as a result of
mental disorder or developmental disability, the defendant is unable to
understand the nature of the criminal proceedings or to assist counsel




                                        5
diagnosis. She contended the schizophrenia made her unable to
comply with her case plan, and she was now enrolled in a
diversion program and “receiving adequate treatment.” The
juvenile court continued the permanency planning hearing and
set a hearing on whether an evidentiary hearing would proceed
on the section 388 request.
       At the hearing in January 2024, the juvenile court denied
the section 388 petition, finding “mother’s progress is recent,” and
her “circumstances are not changed. They are changing at best.
And it’s not in the best interest of the minor to set the evidentiary
hearing.” At a subsequent hearing, the court terminated
mother’s parental rights, found adoption to be in son’s best
interests, and approved a permanent plan of adoption. Mother
appealed.
       Mother contends her section 388 petition was erroneously
denied because she made a prima facie showing of (1) a change in
circumstances; and (2) reunification services would be in son’s
best interests, and therefore, she was entitled to a full
evidentiary hearing. She also contends the court erroneously
relied on statements made by sister. Mother asks us to reverse
the orders denying her section 388 petition and terminating her
parental rights.8 We are unpersuaded by mother’s contentions.




in the conduct of a defense in a rational manner.’ ([Pen. Code,] § 1367,
subd. (a).)” (In re Taitano (2017) 13 Cal.App.5th 233, 239–240.)
8      Mother’s challenge to the latter order is based solely on her
contention that her section 388 petition was wrongly denied. She
offers no other grounds for reversing the order. (See § 366.26,
subd. (c)(1)(A), (B).)




                                    6
B.     Governing Principles and Standard of Review
       Pursuant to section 388, a parent may petition the juvenile
court for modification of any previous order based upon changed
circumstances or new evidence. (In re Alayah J. (2017)
9 Cal.App.5th 469, 478 (Alayah J.).) A parent may seek relief
under section 388 even after the juvenile court has terminated
family reunification services. (Ibid.) “Section 388 provides an
‘“‘escape mechanism’”’ for parents facing termination of their
parental rights by allowing the juvenile court to consider a
legitimate change in the parent’s circumstances after
reunification services have been terminated.” (Ibid., quoting In re
Marilyn H. (1993) 5 Cal.4th 295, 309.) “This procedural
mechanism, viewed in the context of the dependency scheme as a
whole, provides the parent due process while accommodating the
child’s right to stability and permanency.” (Ibid.) “After
reunification services have been terminated, it is presumed that
continued out-of-home care is in the child’s best interests.” (Ibid.)
“Section 388 allows a parent to rebut that presumption by
demonstrating changed circumstances that would warrant
modification of a prior court order.” (Ibid.)
       Rules of Court, rule 5.570 “governs the grant or denial of a
hearing on a section 388 petition.” (Alayah J., supra, 9
Cal.App.5th at p. 479.) Rule 5.570(f)9 requires the juvenile court


9      Rule 5.570(f) states: “If all parties stipulate to the requested
modification, the court may order modification without a hearing. If
there is no such stipulation and the petition has not been denied ex
parte under section (d), the court must either: [¶] (1) order that a
hearing on the petition be held within 30 calendar days after the
petition is filed; or [¶] (2) order a hearing for the parties to argue
whether an evidentiary hearing on the petition should be granted or




                                    7
to either order a hearing on merits of a contested section 388
petition or order a hearing for the parties to argue whether an
evidentiary hearing on the petition should be granted or denied.
(Ibid.) Rule 5.570(d) permits summary denial of a petition on
certain specified grounds, including that the petition “fails to
state a change of circumstance or new evidence that may require
a change of order or . . . [¶] . . . fails to demonstrate that the
requested modification would promote the best interest of the
dependent child.” (Rule 5.570(d)(1), (2).)
       “The parent seeking modification [of an order under section
388] must ‘make a prima facie showing to trigger the right to
proceed by way of a full hearing. [Citation.]’ [Citation.] There
are two parts to the prima facie showing: The parent must
demonstrate (1) a genuine change of circumstances or new
evidence, and that (2) revoking the previous order would be in the
best interests of the [child]. [Citation.]” (In re Anthony W. (2001)
87 Cal.App.4th 246, 250 (Anthony W.).) “To make a prima facie
showing under section 388, the allegations of the petition must be
specific regarding the evidence to be presented and must not be
conclusory. [Citation.] A section 388 petition must be liberally
construed in favor of granting a hearing to consider the parent’s
request.” (Alayah J., supra, 9 Cal.App.5th at p. 478.) However, a
prima facie showing is not made “‘if the allegations would fail to
sustain a favorable decision even if they were found to be true at
a hearing.’” (In re K.L. (2016) 248 Cal.App.4th 52, 61–62.)
       At an evidentiary hearing, the juvenile court considers
factors such as “the seriousness of the reason leading to the

denied. If the court then grants an evidentiary hearing on the petition,
that hearing must be held within 30 calendar days after the petition is
filed.”




                                   8
child’s removal, the reason the problem was not resolved, the
passage of time since the child’s removal, the relative strength of
the bonds with the child, the nature of the change of
circumstance, and the reason the change was not made sooner.”
(In re Mickel O. (2011) 197 Cal.App.4th 586, 616 (Mickel O.).) “In
assessing the best interests of the child, ‘a primary
consideration . . . is the goal of assuring stability and continuity.’
[Citation.]” (Ibid.) Importantly, “the petitioner must show
changed, not changing circumstances. [Citation.] The change of
circumstances or new evidence ‘must be of such significant nature
that it requires a setting aside or modification of the challenged
prior order.’” (Id. at p. 615, original italics.) The court may
consider the entire factual and procedural history of the case.
(Id. at p. 616.)
       We review the summary denial of a section 388 petition for
an abuse of discretion, (Alayah J., supra, 9 Cal.App.5th at p. 478)
and we do not disturb the decision unless the juvenile court
exceeded the limits of legal discretion by making an arbitrary,
capricious, or patently absurd determination. (In re I.B. (2020)
53 Cal.App.5th 133, 153.)

C.    Analysis
      1.    Changed Circumstances
      The juvenile court found mother’s schizophrenia diagnosis
and recent participation in services did not constitute a change of
circumstances warranting reinstitution of reunification services
on the eve of the permanency planning hearing. We agree.
      To establish her schizophrenia diagnosis, mother offered
the reports of two criminal court-appointed medical examiners
who evaluated her in September 2023. One examiner reported




                                  9
mother “denied any mental health needs,” declined to discuss
medications, lacked capacity to make medication decisions, and if
left untreated, probably would suffer serious harm to her physical
or mental health. Mother became “abruptly agitated and hostile”
during the interview, shouted “verbal insults” and profanity at
the examiner, and presented “paranoia, irrational agitation,
labile affect and limited insight, judgment and impulse control[.]”
The other examiner reported mother minimized the child abuse
allegations and exhibited symptoms of “psychosis and a mood
disorder, as evidenced by her paranoid delusions and grandiose
beliefs.” The examiner opined mother “is a danger to others.”
       Despite the seriousness of her diagnosis, mother offered no
evidence regarding treatment. Mother contended she “enrolled in
a diversion program under PC 1001.36(b) which includes a
qualifying factor that the ‘treatment will meet the specialized
mental health treatment needs of the defendant.’” However,
these statements lack any detail. (Anthony W., supra, 87
Cal.App.4th at p. 250.) “‘Specific allegations describing the
evidence constituting the proffered changed circumstances or new
evidence’ is required. [Citation.]” (Ibid. [“Successful petitions
have included declarations or other attachments which
demonstrate the showing the petitioner will make at a hearing of
the change in circumstances or new evidence”].)
       Mother offered no declarations, enrollment documentation,
or treatment plan for her schizophrenia diagnosis. Indeed, she
failed to provide basic information relating to treatment, such as
the names of treating psychiatrists and therapists, dates she was
seen, the specific medications prescribed to her, or even her own
declaration attesting to a medication schedule and her adherence
to it. As the moving party, mother bore the responsibility in the




                                10
first instance to make a prima facie showing, which she failed to
do.
       In response to the petition, DCFS provided evidence that
mother had not been properly treating her schizophrenia since
diagnosis. DCFS’s attempt to verify her treatment revealed that
mother enrolled in a mental health program in October 2023, but
then left in mid-December to enter a drug treatment program
elsewhere. Consequently, mother received no mental health
treatment between mid-December and the first week of January
2024. Although her case manager reported mother had been
“prescribed medication” and was seen by a psychiatrist and
therapist, mother did not sign a release authorizing the program
provider to disclose any verifying information or details to DCFS.
A few weeks before the hearing on mother’s section 388 petition,
mother repeatedly denied being diagnosed with schizophrenia.
(See In re A.F. (2016) 3 Cal.App.5th 283, 293 [“‘[D]enial is a factor
often relevant to determining whether persons are likely to
modify their behavior in the future without court supervision’”].)
       Given mother’s failure to describe any evidence that her
schizophrenia diagnosis was being managed successfully, the
juvenile court did not abuse its discretion in determining she had
not made a prima facie showing of changed circumstances
sufficient to justify a reinstatement of reunification services.

      2.     Best Interests of Son
      The juvenile court also did not err in finding mother failed
to establish son’s interests were best served by the reinstatement
of reunification services.
      Son, then 20 months old, was living with the same foster
parents who had been caring for him since his removal 14 months




                                 11
earlier, and they wanted to adopt him. DCFS reported son was
“doing well in the home and his physical, developmental and
emotional needs [were] being met by” his foster parents, who had
“consistently demonstrated their commitment as active and
loving parents” and took him to all recommended medical
appointments. Son “appeared to demonstrate a strong
attachment with the caregivers, as evidenced by limited crying
and clear comfort in being cared for by the couple.”
       In her section 388 petition, mother contended resuming
reunification services was in son’s best interests because she
“cares for all of [son’s] needs on visits such as feeding, changing
his diaper, and communicating with him.” She also showed
“motherly affection towards [son] by picking him up when he falls
and asking the caregiver how he is doing.”
       Missing was any description of son’s feelings toward
mother or explanation of how reunification services would
promote son’s strong interest in stability at that point in the
proceedings. (Anthony W., supra, 87 Cal.App.4th at pp. 251–52.)
“[T]here is a rebuttable presumption that, in the absence of
continuing reunification services, stability in an existing
placement is in the best interest of the child, particularly when
such placement is leading to adoption by the long-term
caretakers.” (In re Angel B. (2002) 97 Cal.App.4th 454, 465
(Angel B.).) “To rebut that presumption, a parent must make
some factual showing that the best interests of the child would be
served by modification.” (Ibid.)
       It is undisputed that mother did not parent son for most of
his life and had not visited him often. Sister, not mother, cared
for son during his early months of life. Thereafter, son was
placed with foster parents. Mother had in-person visits with son




                                12
fewer than 10 times in 14 months, even though she had been
approved for and agreed to twice weekly visits. She visited him
in person only four times after she was incarcerated. A social
worker reported, “[Mother’s] lack of being involved in [son’s] life
has made it difficult for [me] to observe a motherly [sic] and child
bond between the two of them.” “When [son] does visit with his
mother [I have] observed that he will go up to his current
caregivers when he wants something as he [is] more familiar
with them than his own mother.” “On this record, no reasonable
trier of fact could conclude that the bond, if any, [son] feels
toward Mother (as opposed to the bond that Mother feels toward
[son]) is that of a child for a parent.” (See Angel B., supra, 97
Cal.App.4th at p. 465, original italics.)
       In summary, even construing the petition liberally, mother
failed to show how it would be in son’s best interest to revoke the
order terminating reunification services. At the time of the
hearing on the section 388 petition, mother had an unresolved
criminal child abuse charge, had been diagnosed with a mental
illness that made her a danger to others, and provided no details
of treatment. Mother’s petition said nothing about son having a
bond with her, as she had visited him only occasionally. Son
spent most of his life with the foster parents, who offered him
stability and permanency through adoption. The juvenile court’s
summary denial of mother’s petition was not arbitrary,
capricious, or patently absurd.

     3.    Sister’s Interview
     Mother’s other contention does not alter our conclusion.
She argues the juvenile court erred in relying on statements
made by sister during an interview with DCFS that was




                                 13
documented in its section 388 response report. The month before
the hearing, mother told the social worker she was homeless, but
after she left the drug treatment program, she would reside with
sister and expected to be hired by sister’s roommate. Sister
however, denied any plan for mother to live with her and
reported her roommate neither owned a business nor trusted
mother. Mother contends the juvenile court erred in considering
this evidence because she was not seeking release of son, but only
reinstatement of services, and she should have been allowed to
cross-examine sister and the DCFS personnel who prepared the
report. We disagree.
       “[Q]uestions relating to the admissibility of evidence will
not be reviewed on appeal in the absence of a specific and timely
objection in the trial court on the ground sought to be urged on
appeal.” (People v. Seijas (2005) 36 Cal.4th 291, 301.) At the
section 388 hearing, both DCFS’s and son’s counsel pointed to the
discrepancy between mother’s post-treatment plans and sister’s
refutation of those plans. The juvenile court gave mother’s
counsel the opportunity to respond to these arguments, but her
counsel neither objected to the evidence nor expressed a need to
cross-examine anyone—instead, counsel declined to argue further
on the section 388 petition. Accordingly, mother forfeited her
objections by failing to raise them below.
       Further, any error in admitting sister’s statements was
harmless. (See In re M.R. (2020) 48 Cal.App.5th 412, 429 [“‘In
general, harmless error analysis applies in juvenile dependency
proceedings’”]; In re Basilio T. (1992) 4 Cal.App.4th 155, 168
[although court erred in failing to reject evidence of child’s
comments to social worker, error was harmless because other
evidence was presented to support court’s finding].) As we have




                               14
discussed, the juvenile court did not need to consider sister’s
statements to determine that mother failed to make a prima facie
showing of changed circumstances or that reinstating services
was in son’s best interests. She did not adequately show that she
was treating her diagnosed mental illness. She did not show son
was bonded to her, as opposed to the foster parents who had
raised him and sought to adopt him. In light of the facts and
procedural history of the case, the juvenile court did not abuse its
discretion in summarily denying mother’s section 388 petition.

                         DISPOSITION
      The juvenile court’s order is affirmed.




                                     MORI, J.
We concur:



             COLLINS, Acting P. J.




             ZUKIN, J.




                                15
